           Case 5:18-cv-01019-HE Document 27 Filed 01/22/19 Page 1 of 2

                                                                                                      	  
                                                                           January 22, 2019
The Honorable Chief Judge Joe Heaton
United States District Court for the Western District of Oklahoma
200 NW 4th Street
Oklahoma City, OK 73102

Subject: Notice of Supplemental Authorities in Carter Page v. DNC et al, Case No.
              CIV-18-1019-HE

Dear Judge Heaton:
         I write in accordance with LCvR7.1(m) to provide the Court with several
supplemental authorities that U.S. Congressional proceedings made available last week.
The Defendants’ Reply Motion on Friday (Dkt. No. 26) referred to the Plaintiff’s “recycled
conspiracy theories”. But as demonstrated infra, senior current and incoming officials on
the Judiciary Committees of both chambers in Congress and the U.S. Department of Justice
have continued to provide further evidence which refutes the Defendants’ conclusory
allegations related to their illegal activities in 2016 (Id.):
(A)   U.S. Attorney General-nominee William Barr’s promise to investigate
    Defendants’ Dodgy Dossier (Exhibit 1)1 – In a January 15th, 2019 confirmation
    hearing, Mr. Barr promised to fulfill a request from U.S. Senate Judiciary Committee
    Chairman Lindsey Graham that the Justice Department look into the reliability of the
    Defendants’ false evidence which led to abuse of process in the U.S. Foreign
    Intelligence Surveillance Court in 2016 and “hold people accountable if it was not”.
(B)   Criminal leak investigation related to Defendants’ alleged misconduct and
    conspiracy with the FBI (Exhibit 2)2 – Earlier U.S. Congressional proceedings have
    previously revealed alleged coordination between Defendant Michael Sussmann and
    former FBI General Counsel James Baker. Plaintiff’s Complaint (¶ 29, 43-44) and
    Memorandum of Law (Dkt. No. 22, ECF p. 38) included such initial allegations from
    Article I Committees. As of last week, correspondence with the U.S. Attorney for the
    District of Connecticut has now confirmed that these media-related actions are under
    criminal investigation. Mr. Baker also discussed the potentially unprecedented nature of
    his interactions with Defendant Mr. Sussmann in his alleged Congressional testimony:
        Congressman Jordan: [This] is the first time and to your recollection the only time
        an outside counsel had information and was wanting to make sure it got to the
        general counsel of the FBI, and it happened to deal with the Russia investigation.


1
   Matt Naham, “William Barr Made Some Big Promises to Lindsey Graham, Including a
Strzok/Page Investigation,” Law & Crime, January 15th, 2019. https://lawandcrime.com/high-
profile/william-barr-made-some-big-promises-to-lindsey-graham-including-a-strzok-page-
investigation/
2
   Ranking Member of U.S. House Oversight Committee Jim Jordan and Congressman Mark
Meadows, Letter to U.S. Attorney John H. Durham, January 15, 2019. https://republicans-
oversight.house.gov/wp-content/uploads/2019/01/2019-01-15-JDJ-MM-to-Durham-re-briefing.pdf



                                                                                               	  
           Case 5:18-cv-01019-HE Document 27 Filed 01/22/19 Page 2 of 2

        Mr. Baker: I that that’s correct. Sitting here today, that’s the only one I can
        remember.3
(C)   Other Elements of Defendants’ In-State Relationships: Ongoing Criminal
    Investigations - In the creation and distribution of their dangerous and defamatory
    Dodgy Dossier, each of the Defendants could easily “foresee its possible use in
    Oklahoma.” World-Wide Volkswagen Corp v. Woodson, 444 U.S. 291 (1980). Although
    I believe my pleadings make general and specific jurisdiction abundantly clear,
    additional factual material is available if the Court might have any doubt about the
    personal jurisdiction over each of the Defendants in this civil action. Government
    sources previously leaked to the Washington Post that I was interviewed at length by
    agents of the FBI’s Counterintelligence Division in March 2017 on matters stemming
    from the false allegations produced and distributed by the Defendants in their Dodgy
    Dossier.4 But as outlined in ¶ (A) and (B), supra, federal authorities who have debunked
    the Defendants’ libel are now instead looking into numerous matters related to crimes
    committed against the Plaintiff. Although my discussions with FBI Counterintelligence
    stemming from the tortious activities by the Defendants in this civil action were illegally
    disclosed, I wish to continue my support of ongoing law enforcement investigations by
    protecting the integrity of their operations. See, e.g., Virginia Dep’t of State Police v.
    Washington Post, 386 F.3d 567, 579 (4th Cir. 2004) (“[A] compelling governmental
    interest exists in protecting the integrity of an ongoing law enforcement investigation.”)
    However, several of my 2017 interviews with FBI Counterintelligence were directly
    related to the damages created by the Defendants within the jurisdiction of the state
    of Oklahoma. If necessary in the case of any remaining jurisdictional uncertainties,
    Plaintiff can make additional Oklahoma-specific information and/or an associated
    supplemental brief available upon the request of the Court; preferably under seal to
    protect the integrity of ongoing law enforcement investigations.
        In other Article III Court proceedings last week, Judge Leon denied a similar Motion
to Dismiss by subcontractors of this civil action’s Defendants who had assisted them as
servants in the creation and dissemination of their defamatory Dodgy Dossier. Fridman et
al v. Bean LLC et al, 17-cv-2041-RJL, Dkt. No. 48 (D.D.C., Jan. 15, 2019). This new legal
analysis and order is also included as a further supplemental authority in Exhibit 3, infra.

Very respectfully,



Carter Page, Ph.D.

3
    Jeff Carlson, “EXCLUSIVE: Transcripts of Former Top FBI Lawyer Detail Pervasive
Abnormalities in Trump Probe,” Epoch Times, January 19, 2019.
https://www.theepochtimes.com/transcripts-of-former-top-fbi-lawyer-detail-pervasive-
abnormalities-in-trump-probe_2771370.html
4
    Devlin Barrett, “FBI has questioned Trump campaign adviser Carter Page at length in Russia
probe,” Washington Post, June 26, 2017. https://www.washingtonpost.com/world/national-
security/fbi-has-questioned-trump-campaign-adviser-carter-page-at-length-in-russia-
probe/2017/06/26/1a271dcc-5aa5-11e7-a9f6-7c3296387341_story.html
